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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA


                                     CRIMINAL MINUTES -GENERAL
  Case No.      2:16-cr-861-ODW                                             Date     Apri129, 2021
  Title         United States v. Ian William MacNeill



 Present: The Honorable Steve Kim, U.S. Magistrate Judge
                      Connie Chung                                            n/a
                      Deputy Clerk                                  Court Reporter /Recorder
            Attorneys Present for Government:                   Attorneys Present for Defendant:
                           n/a                                                 n/a
 Proceedings:              (IN CHAMBERS)ORDER OF DETENTION —
                           PROBATION/SUPERVISED RELEASE VIOLATION

       The Court conducted a detention hearing pursuant to Federal Rule of Criminal Procedure
32.1(a)(6) and 18 U.S.C. § 3143(a)following Defendant's arrest for alleged violations) of the
terms of Defendant's ~ probation / ❑supervised release.
           The Court fords that:
       A.     ~     Defendant has not carried his/her burden of establishing by clear and
convincing evidence that Defendant will appear for further proceedings as required if released
[18 U.S.C. § 3142(b-c)]. This finding is based on:
                  ❑      Lack of bail resources
                  ❑      Refusal to interview with Pretrial Services

                  ❑      No stable residence or employment
                  ❑      Previous failure to appear or violations of probation, parole, or release
                 ❑       Ties to foreign countries
                  O      Allegations in petition
                  ❑
                  X      Order of the District Judge




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      B.     ~     Defendant has not carried his/her burden of establishing by clear and
convincing evidence that Defendant will not endanger the safety of any other person or the
community if released [18 U.S.C. § 3142(b-c)]. This finding is based on:
              ❑     Nature of previous criminal convictions
             ~      Allegations in petition

             ❑      Substance abuse
             ❑      Already in custody on state or federal offense




                                              * **

      IT IS THEREFORE ORDERED that the defendant be detained pending further
proceedings.




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